Case 2:20-cv-06587-SB-ADS Document 98 Filed 01/19/22 Page 1 of 10 Page ID #:852




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 7
                          UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9    Erica Reiners, individually and on
      behalf of all others similarly situated,       Case No. 2:20-cv-06587-SB-ADS
10
                                  Plaintiff,         STIPULATION ON MOTION TO
11                                                   COMPEL COMPLIANCE WITH
      v.                                             DECEMBER 8, 2021 ORDER (Dkt. 92)
12
      Chou Team Realty, LLC d/b/a                    [Discovery Document: Referred to
13    MonsterLoans, a California limited
      liability company, Lend Tech Loans,            Magistrate Judge Autumn D. Spaeth]
14    Inc., a California corporation, Sean
      Cowell, an individual, Thomas Chou,            Date: February 9, 2022
15    an individual, Mikael Van Loon, an             Time: 10:00 a.m.
      individual, Jawad Nesheiwat, an                Place: Courtroom 6B, 6th Floor
16    individual, and Eduardo Martinez, an           Complaint filed: July 23, 2020
      individual,
17                                                   Discovery Cutoff: February 24, 2022
                                  Defendants.
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                   STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH COURT ORDER
Case 2:20-cv-06587-SB-ADS Document 98 Filed 01/19/22 Page 2 of 10 Page ID #:853




 1   I.      INTRODUCTORY STATEMENTS
 2           A.    Plaintiff’s Introductory Statement
 3           This motion seeks to compel third-party Sales Speek, Inc. (“Sales Speek”) to
 4   comply with the Court’s December 8, 2021 Order. That is, despite being Ordered to
 5   provide a complete response to a subpoena issued in this action, Sales Speek has
 6   continued to ignore the Court’s Order. Instead, Nesheiwat (the president of Sales
 7   Speek) filed a notice of inability of comply with the Court’s Order on December 22,
 8   2021. Later, on January 12, 2022, Sales Speek served its “supplemental response”
 9   to the subpoena. Once again, Sales Speek asserts baseless objections and claims that
10   no responsive documents exist. Accordingly, the response remains deficient, and
11   the Court should enter an Order compelling Sales Speek to fully comply with the
12   December 8, 2021 Order and order Sales Speek to show cause as to why it should
13   not be held in contempt.
14           B.    Sales Speek’s Introductory Statement
15           Due to contracting COVID-19, on December 22, 2021, Mr. Nesheiwat filed a
16   notice of his inability to comply with the Honorable Autumn D. Spaeth’s December
17   8, 2021, order, and suggesting that a follow-up status report be filed on January 14,
18   2022:
19           “This shall serve as notice that defendant, Jawad Nesheiwat, has been
             stricken ill with COVID-19, and, therefore, Sales Speek, Inc., will not
20           be able to comply with the Honorable Autumn D. Spaeth’s December 8,
21           2021, Order [ECF 92]. The undersigned counsel suggests a follow-up
             status report be filed on January 14, 2022.”
22
23   See ECF 93.
24           Having recovered from COVID-19, on January 12, 2022, Mr. Nesheiwat
25   served a Supplemental Response to the Subpoena in compliance with Magistrate
26   Spaeth’s order. See Exhibit A hereto.
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                      STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH COURT ORDER
28                                               -1-
Case 2:20-cv-06587-SB-ADS Document 98 Filed 01/19/22 Page 3 of 10 Page ID #:854




 1   II.    ISSUES IN DISPUTE
 2          1.    Whether Sales Speek, Inc. should be compelled to comply with the
 3   Court’s December 8, 2021 Order (dkt. 92).
 4          2.    Whether the Court should issue an order to show cause why Sales
 5   Speek, Inc. should not be held in contempt for violating the Court’s December 8,
 6   2021 Order (dkt. 92).
 7   III.   PARTIES’ CONTENTIONS AND POINTS OF AUTHORITIES
 8          A.    Plaintiff’s Contentions And Points Of Authorities
 9                1.      Sales Speek’s Supplemental Response Remains Deficient.
10          As this Court is aware, Plaintiff issued a subpoena to produce documents,
11   information, or objects or to permit inspection of premises in a civil action directed
12   to Sales Speek, Inc. (Dkt. 87-1.) After repeatedly refusing to comply with the
13   subpoena1, this Court Ordered Sales Speek to provide a complete response to the
14   subpoena on or before December 22, 2021. (Dkt. 92.) Thereafter, counsel for the
15   Plaintiff and Sales Speek (and Nesheiwat) conferred regarding the production. (Dkt.
16   94-1 ¶ 4.) On December 18, 2021, counsel for Sales Speek emailed Plaintiff’s
17   counsel to inform him that Nesheiwat had contracted Covid-19 and stated, “we will
18   need to revisit your discovery issues in January.” (Id. ¶ 5.) Plaintiff’s counsel
19   responded by informing Nesheiwat’s counsel that he did not have the authority to
20   alter a Court Order. (Id. ¶ 6.)
21          On December 22, 2021, Nesheiwat filed a notice of inability to comply with
22   the Court’s December 8, 2021 Order, which informed the Court that Nesheiwat had
23   fallen ill with Covid-19. (Dkt. 93.) The notice also “suggests” that a follow-up
24
25   1
      A complete breakdown of Sales Speek’s repeated refusal to respond to the
26   subpoena can be found in the Declaration of Taylor T. Smith, which was filed in
27   support of the original motion to compel. (See, e.g., Dkt. 87-3.)
                       STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH COURT ORDER
28                                                -2-
Case 2:20-cv-06587-SB-ADS Document 98 Filed 01/19/22 Page 4 of 10 Page ID #:855




 1   status report should be filed by January 14, 2022. (Id.) On December 30, 2021,
 2   Plaintiff filed a response to Nesheiwat’s notice, which proposed a new response
 3   date for the subpoena on January 7, 2022. (Dkt. 94.)
 4         On January 12, 2022, Sales Speek served its supplemental response to the
 5   subject subpoena. (See Sales Speek Supplemental Response, attached hereto as Ex.
 6   A.) Sales Speek’s supplemental response is substantively the same as its original
 7   response. That is, Nesheiwat (not Sales Speek) again asserts his fifth amendment
 8   privilege and then proceeds to double down on the claim that no documents exist.
 9   (See id.) As explained below, the objections should be overruled, and the Court
10   should order Sales Speek to comply with the December 8, 2021 Order.
11         First, just as with the original response, Nesheiwat’s objections should be
12   overruled. That is, in response to each request, Nesheiwat (not Sales Speek) asserts
13   his fifth amendment right against self-incrimination. Because the subpoena was
14   directed to a corporation (Sales Speek), there is no basis for these objections.
15   Chrome Hearts LLC V. Old Sch. Fairfax Inc., 2017 WL 8943005, at *3 (C.D. Cal.
16   Aug. 25, 2017) (“Corporations do not have Fifth Amendment rights.”) (citing
17   Braswell v. United States, 487 U.S. 99, 107 (1988)).
18         Additionally, because Sales Speek failed to assert any objections prior to its
19   deadline to respond (September 9, 2021), it has waived any objections that it may
20   have to the subpoena. Juno Therapeutics, Inc. v. Kite Pharma, Inc., No. CV 17-
21   7639-SJO-KSX, 2019 WL 3069009, at *3 (C.D. Cal. Apr. 29, 2019) (“A non-
22   party’s failure to timely make objections to a Rule 45 subpoena ... generally
23   requires the court to find that any objections have been waived.”) (citation omitted).
24   As such, the Court should again overrule Sales Speek’s objections and order a
25   complete response.
26         Second, Sales Speek’s continued claim that no documents exist should not be
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                     STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH COURT ORDER
28                                              -3-
Case 2:20-cv-06587-SB-ADS Document 98 Filed 01/19/22 Page 5 of 10 Page ID #:856




 1   accepted by the Court. Relevant here, “[w]hen no responsive documents are found
 2   or a dispute arises out of the completeness of the production that is made, the
 3   subpoenaed person must come forward with an explanation of the search conducted
 4   ‘with sufficient specificity to allow the Court to determine whether the party made a
 5   reasonable inquiry and exercised due diligence.’” V5 Techs. v. Switch, Ltd., 332
 6   F.R.D. 356, 366–67 (D. Nev. 2019) (citing Rogers v. Giurbino, 288 F.R.D. 469, 485
 7   (S.D. Cal. 2012)).
 8         Despite being compelled to provide a complete response, Sales Speek has
 9   continued to claim that no responsive documents exist. As explained in connection
10   with the original motion to compel, this cannot be true. Indeed, Plaintiff has been
11   able to locate documents related to Sales Speek from various sources, including
12   contractual agreements entered into by Sales Speek (see Dkt. 87-2 pgs. 24, 59),
13   checks written to Sales Speek (see Sales Speek Checks, Dkt. 88-1), and federal tax
14   filings, which reveal that more than $200,000 in income was reported to the IRS on
15   behalf of Sales Speek for the year 2016 (see Excerpts of Tax Filings, attached
16   hereto as Exhibit B.) Together, these documents reveal that Sales Speek has or at
17   one time had a bank account, that it entered into agreements/contracts to conduct
18   business within this State, and that it filed taxes with the federal government. As
19   such, it appears that Sales Speek has failed or refused to conduct any sort of
20   meaningful search for documents.
21         Plaintiff therefore requests that the Court enter an order compelling Sales
22   Speek to provide a complete response to the subpoena to produce documents
23   without delay.
24                2.      Sales Speek’s Actions Also Necessitate An Order To Show
25                        Cause Why It Should Not Be Held In Contempt.
26         Additionally, “[a] party who fails to comply with a discovery order or who
27
                       STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH COURT ORDER
28                                                -4-
Case 2:20-cv-06587-SB-ADS Document 98 Filed 01/19/22 Page 6 of 10 Page ID #:857




 1   otherwise fails to comply with such party's discovery obligations is subject to a
 2   variety of sanctions.” Sugar Hill Music v. CBS Interactive Inc., No. CV 11-9437
 3   DSF(JCX), 2015 WL 12698438, at *4 (C.D. Cal. Feb. 27, 2015) (citing Fed. R. Civ.
 4   P. 37(b)(2)(A)). Relevant here, the Court “may hold in contempt a person who,
 5   having been served, fails without adequate excuse to obey the subpoena or an order
 6   related to it.” Fed. R. Civ. P. 45(g).
 7         “Civil contempt is intended ‘to coerce [a party] into compliance with the
 8   court’s order” or “to compensate the complainant for losses sustained” from the
 9   noncompliance.’” Pongsai v. Am. Express Co., No. Case No. 8:19-cv-01628-DOC,
10   2020 WL 6115086, at *1 (C.D. Cal. Aug. 27, 2020) (citation omitted). To establish
11   civil contempt, “the moving party must show by clear and convincing evidence that
12   the contemnor has violated a clear and specific court order.” Id. at *2. Once the
13   movant has made that showing, “the burden shifts to the contemnor to show that he
14   or she took every reasonable step to comply and to explain why compliance was not
15   possible.” Id. (collecting cases). Of course, a subpoena “is itself a court order, and
16   noncompliance may warrant contempt sanctions.” Poly-Med, Inc., 2017 WL
17   2291942, at *2 (citing Pennwalt Corp. v. Durand-Wayland, Inc., 708 F.2d 492, n.5
18   (9th Cir. 1983)).
19         Here, Sales Speek’s actions warrant contempt sanctions. As explained above,
20   this Court entered an Order compelling Sales Speek to provide a complete response
21   to the subject subpoena on or before December 22, 2021. At no time did Sales
22   Speek file a motion to extend its deadline. Instead, Sales Speek (or rather
23   Nesheiwat) filed a notice of inability to comply with the subpoena and then
24   proceeded to ignore its discovery obligations. Plaintiff even agreed to extend its
25   deadline until January 7, 2022. (Dkt. 94.) But January 7th came and went without
26   any additional information being provided by Sales Speek.
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                      STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH COURT ORDER
28                                               -5-
Case 2:20-cv-06587-SB-ADS Document 98 Filed 01/19/22 Page 7 of 10 Page ID #:858




 1         Instead, Sales Speek waited until January 12, 2022, to serve a supplemental
 2   response. Once again, Sales Speek claims that no documents exist. As explained
 3   above, the response remains deficient. Put simply, there is no basis for Sales Speek
 4   to continue to ignore its obligation to provide a complete response. And given its
 5   history (and Nesheiwat’s history) of refusing to comply, the Court should not
 6   permit Sales Speek to continue to ignore its discovery obligations.
 7         Accordingly, the Court should order Sales Speek to show cause as to why it
 8   should not be held in contempt.
 9                3.      Conclusion
10         For the foregoing reasons, Plaintiff requests that the Court enter an order
11   compelling Sales Speek to provide a complete response to the Sales Speek
12   Subpoena without delay, issue an order to show cause by it should not be held in
13   contempt, and for such additional relief as the Court deems necessary and just.
14         B.     Sales Speek’s Contentions And Points Of Authorities
15         In the Supplemental Response, Mr. Nesheiwat’s assertion of his personal
16   Privilege Against Self-Incrimination under the Fifth Amendment is appropriate, as
17   he is not asserting it on behalf of Sales Speek, Inc. For details of the underlying basis
18   of Mr. Nesheiwat’s assertion of his personal Fifth Amendment Privilege, please see
19   Exhibit A, Response to Request No. 1, p. 1, l. 25 through p. 5, l. 4.
20         In addition to assertion of his Fifth Amendment Privilege, Mr. Nesheiwat
21   provided the following response in each of the responses:
22
           “Without waiving his privilege against self-incrimination as protected
23         by the Fifth Amendment to the United States Constitution Nesheiwat
24         provides the following supplemental response: Sales Speek, Inc., no
           longer exists as an entity. However, and in order to make a good faith
25         effort in light of Magistrate’s Spaeth’s 12/8/21 Order directing Sales
26         Speek, Inc., to provide supplemental responses, I have conducted an
           extensive and diligent search of my records, as well as the 2.5 million
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                       STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH COURT ORDER
28                                                -6-
Case 2:20-cv-06587-SB-ADS Document 98 Filed 01/19/22 Page 8 of 10 Page ID #:859




 1         pages of documents provided through discovery in the Bureau Case, in
           order to do my best to locate Sales Speek, Inc.’s documents that are
 2         responsive to this request, but I have not located any documents
 3         responsive to this request.”
           In each of the responses Mr. Nesheiwat explains the additional time and actions
 4
     he has taken to locate documents responsive to each request but concludes by stating
 5
     “. . .but I have not located any documents responsive to this request.”
 6
           It is quite unclear as to what actions, exactly, plaintiff is requesting the Court
 7
     to compel Mr. Nesheiwat to take. State another way, what actions, precisely, did Mr.
 8
     Nesheiwat fail to take to comply with Magistrate Spaeth’s order?
 9
           Plaintiff proffers Exhibit B, which is comprised of a series of K-1s for 2016.
10
     However, this bears no relationship to plaintiff’s complaint because the date alleged
11
     in the complaint, which invoked this Court’s jurisdiction, occurred two years later on
12
     August 9, 2018:
13
14                        “FACTS SPECIFIC TO PLAINTIFF
15
                 58. On or around August 9, 2018, Defendants, via Lend Tech’s
16         Experian account, obtained Plaintiff’s consumer report from Experian.
17
                  59. Defendants did not have Reiner’s authorization to pull her
18         consumer report, nor did they have any permissible purpose to request
19         her report.”

20   See ECF 1, Complaint, p. 9, ¶¶ 58 and 59 (emphasis added).

21         Assuming the requested documents exist, Plaintiff should simply request

22   documents relating to Sales Speek from the other parties in this matter. For example,

23   plaintiff was able to somehow obtain Sales Speek’s private and privileged tax

24   documents from someone other than Sales Speek.

25         This motion should be denied because Mr. Nesheiwat has taken all steps

26   required of him under Rule 45 to comply with the Subpoena and has also taken all

27   additional possible steps in order to comply with Magistrate Spaeth’s order.
                       STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH COURT ORDER
28                                                -7-
Case 2:20-cv-06587-SB-ADS Document 98 Filed 01/19/22 Page 9 of 10 Page ID #:860




 1                                            Respectfully submitted,
 2
     Dated: January 19, 2022           By:     /s/ Taylor T. Smith
 3
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                                              THE AFTERGOOD LAW FIRM
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                                              Los Angeles, CA 90067
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10                                            Telephone: (720) 907-7628
                                              Facsimile: (303) 927-0809
11                                            Attorneys for Plaintiff Erica Reiners
12                                            and the Class

13
14   Dated: January 19, 2022           By:     /s/ Peter D. Lepiscopo

15                                            Peter D. Lepiscopo
                                              Lepiscopo and Associates Law Firm
16                                            695 Town Center Drive 7th Floor
                                              Costa Mesa, CA 92626
17                                            619-251-2428
                                              Fax: 619-330-2991
18                                            Email: plepiscopo@att.net

19                                            Attorney for Jawad Nesheiwat, Defendant

20
21
                              SIGNATURE CERTIFICATION
22
           Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that Sales Speek,
23
     Inc.’s counsel concurs with the content of this document and has authorized me to
24
     affix his signature to the document and file the same with the Court.
25
                                              /s/ Taylor T. Smith
26
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                     STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH COURT ORDER
28                                              -8-
Case 2:20-cv-06587-SB-ADS Document 98 Filed 01/19/22 Page 10 of 10 Page ID #:861




 1                             CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above
 3   titled document was served upon counsel of record by filing such papers via the
 4   Court’s ECF system on January 19, 2022.
 5                                            /s/ Taylor T. Smith
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